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     Attorneys for Plaintiffs Dell Inc. and Dell Products L.P.
12

13
                                UNITED STATES DISTRICT COURT
14                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
15

16   IN RE: CATHODE RAY TUBE (CRT)             Master File No. 3:07-cv-5944 JST
     ANTITRUST LITIGATION
17   _________________________________________ MDL No. 1917

18   THIS DOCUMENT RELATES TO:                             STIPULATION AND [PROPOSED]
                                                           ORDER REGARDING STAY OF
19   Individual Case No. 13-cv-2171 (JST)                  PROCEEDINGS DUE TO
                                                           SETTLEMENT
20   DELL INC. and DELL PRODUCTS L.P.,

21                  Plaintiffs,

22   v.

23   HITACHI, LTD., ET AL.,

24                  Defendants.

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     STIPULATION AND [PROPOSED] ORDER                                         3:13-cv-02171
     REGARDING STAY OF PROCEEDINGS DUE TO                                     MDL No. 1917
     SETTLEMENT - 1
      Case 3:07-cv-05944-JST Document 4716 Filed 07/14/16 Page 2 of 4



 1          Plaintiffs Dell Inc. and Dell Products L.P. (collectively, “Dell”) and Defendants Samsung
 2   SDI Co., Ltd., Samsung SDI America, Inc., Samsung SDI (Malaysia) SDN. BHD., Samsung SDI

 3   Mexico S.A. DE C.V., Samsung SDI Brasil Ltda., Shenzen Samsung SDI Co., Ltd., and Tianjin
     Samsung SDI Co., Ltd. (collectively, “Samsung SDI”) by and through undersigned counsel, hereby
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     stipulate as follows:
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            WHEREAS, Dell commenced an action in the United States District Court for the Western
 6   District of Texas, which was subsequently transferred to this Court, entitled Dell Inc. and Dell
 7   Products L.P. v. Hitachi Ltd., et al., Case No. 13-cv-2171(JST).
 8          WHEREAS, as the parties informed the Court on July 1, 2016, Dell and Samsung SDI have

 9   reached an agreement in principle to settle Dell’s claims in this lawsuit.
            WHEREAS, following execution of the settlement agreement, Dell will dismiss its claims
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     against Samsung SDI pursuant to the terms of that agreement;
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            WHEREAS, Samsung SDI is Dell’s final defendant in this lawsuit, and dismissal of Dell’s
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     claims against Samsung SDI will conclude Dell’s participation in this above-captioned case;
13          IT IS HEREBY STIPULATED AND AGREED by and between counsel for Dell and
14   Samsung SDI, subject to the concurrence of the Court, that all remaining proceedings related to

15   Dell’s claims in the above-captioned litigation should be stayed until the parties file a stipulation
     of dismissal with prejudice. Should the parties fail to finalize the settlement agreement, they will
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     promptly notify the Court so that it may lift the stay.
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            The undersigned parties jointly and respectfully request that the Court enter this Stipulation
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     as an order.
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                                                                                 ISTRIC
20   PURSUANT TO STIPULATION, IT IS SO ORDERED.
                                                                          T ES D        TC
     Dated: July 14, 2016                                               TA
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                                                                   Hon. Jon S. Tigar
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                                                                   United States DistrictDJudge
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      STIPULATION AND [PROPOSED] ORDER                                                            3:13-cv-02171
      REGARDING STAY OF PROCEEDINGS DUE TO                                                        MDL No. 1917
      SETTLEMENT - 2
      Case 3:07-cv-05944-JST Document 4716 Filed 07/14/16 Page 3 of 4



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                                          S.A. de C.V., Samsung SDI Brasil Ltda., Shenzen
26                                        Samsung SDI Co., Ltd., and Tianjin Samsung SDI
                                          Co., Ltd.
27                                         .
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      STIPULATION AND [PROPOSED] ORDER                                              3:13-cv-02171
      REGARDING STAY OF PROCEEDINGS DUE TO                                          MDL No. 1917
      SETTLEMENT - 3
      Case 3:07-cv-05944-JST Document 4716 Filed 07/14/16 Page 4 of 4



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     Pursuant to General Order No. 45, § X-B, the filer attests that concurrence in the filing of this
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     document has been obtained from each of the above signatories.
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      STIPULATION AND [PROPOSED] ORDER                                                      3:13-cv-02171
      REGARDING STAY OF PROCEEDINGS DUE TO                                                  MDL No. 1917
      SETTLEMENT - 4
